

Selnick Harwood Consulting Engrs., P.C. v Atlantic Dev. Group, LLC (2018 NY Slip Op 02730)





Selnick Harwood Consulting Engrs., P.C. v Atlantic Dev. Group, LLC


2018 NY Slip Op 02730


Decided on April 19, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 19, 2018

Friedman, J.P., Richter, Andrias, Kapnick, Webber, JJ.


6308 100332/12

[*1]Selnick Harwood Consulting Engineers, P.C., Plaintiff-Respondent,
vAtlantic Development Group, LLC, Defendant-Appellant.


The Stolper Group, LLP, New York (Michael Stolper of counsel), for appellant.
Goetz FitzPatrick LLP, New York (John B. Simoni, Jr. of counsel), for respondent.



Judgment, Supreme Court, New York County (Arthur F. Engoron, J.), entered October 19, 2016, awarding plaintiff the aggregate amount of $75,432.56, and bringing up for review an order, same court and Justice, entered June 21, 2016, which denied defendant's application for an adjournment of the bench trial, unanimously affirmed, without costs.
The court providently exercised its discretion when it denied defendant's motion for an adjournment of the trial date which had been set seven months earlier, and of which defendant's counsel had ample notice from the court and plaintiff's counsel
(see Headley v Noto , 22 NY2d 1, 4 [1968]; Matter of Grisi v Shainswit , 119 AD2d 418, 421 [1st Dept 1986]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: APRIL 19, 2018
CLERK








